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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9    Frank Jarvis Atwood,                            No. CV 20-00623-PHX-JAT (JZB)
10                           Plaintiff,
11    v.                                              ORDER
12
      Panann Days, et al.,
13
                             Defendants.
14
15          Pending before the Court is a Stipulated Motion to Dismiss State Defendants in
16   which Plaintiff voluntarily agrees to dismiss with prejudice the claims against Defendants
17   Arnold, Days, Lopez, Shinn, and Scott, with each side to bear their own fees and costs.
18   (Doc. 201.) Plaintiff states that he will continue to pursue his claims against the remaining
19   Defendants. (Id.)
20          The Court will accept the Stipulation. Although the Parties to the Stipulation did
21   not address the pending Motions for Summary Judgment filed by Defendants Scott and
22   Shinn (Doc. 181) and Defendants Arnold, Days, and Lopez (Doc. 188), the Stipulation
23   renders those Motions moot.
24   IT IS ORDERED:
25          (1)    The reference to the Magistrate Judge is withdrawn as to the Stipulated
26   Motion to Dismiss State Defendants (Doc. 201), Defendants Shinn and Scott’s Motion for
27   Summary Judgment (Doc. 181), and Defendants Arnold, Days, and Lopez’s Motion for
28   Summary Judgment (Doc. 188).
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 2          (2)   The Stipulated Motion to Dismiss State Defendants (Doc. 201) is granted.
 3   Defendants Arnold, Days, Lopez, Shinn, and Scott and the claims against them are
 4   dismissed with prejudice from this action, which the parties each to bear their own fees
 5   and costs.
 6          (3)   Defendants Shinn and Scott’s Motion for Summary Judgment (Doc. 181) and
 7   Defendants Arnold, Days, and Lopez’s Motion for Summary Judgment (Doc. 188) are
 8   denied as moot.
 9          (4)   The remaining claims are Plaintiff’s Eighth Amendment medical care claims
10   against Defendants Centurion and Olmstead.
11          Dated this 7th day of March, 2022.
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